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                             TNTHE UNITED STATES DISTRICT             COURT                    .
                            FOR THE NORTHERN DISTRICT OF             ILLINOIS               )- : .
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FUJIrsu     LIMITED,                            )                                wk#jjrrg.p
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              Praintiff,                                                                       *h{f&"o
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       v.                                                )       Nos.   09     A<a.A
                                                                             C4530

TELI-A.BS,     INC.,                                     )
TELLABS OPERATIONS,INC.,               and               )       Judge James F. Holderman
TELLABS NORTH AMERICA, INC.,

                  Defendants.

                                  OFFICIAL FINAL VERDICT FORM

       We, the jury, unanimously find and report based on the evidence presented at the trial and

the law provided to us in the Final Jury Instructions, the following as the verdict of the jury:

       Question 1: Has Tellabs proven that Fujitsu in its May 21, L996 letter and Patent
Statement (Joint Exhibit 2) agreed it was willing to grant a license of Fujitsu's '737 Patent's
technology on RAND terms in compliance with the ITU's Patent Policies?

       Answer:             Yes                           No

       If the answer to Question      1 is "Yes," please answer Question 2. If the answer to
           I   is oNo," please sign the verdict form and do not answer any other questions.
Question


        Question 2: Has Tellabs proven that Fujitsu's "737 Patent's technology is essential to
(meaning the'737 Patent's technology is one of the alternative ways required to implement) one
or more of the necessary specifications of the standardized technology recommended by the
ITU-T Recommendation G.692 titled, "Optical interfaces for multichannel systems with optical
amplifiers"?

       Answer:             Yes                           No

       If the answer to Question 2 is o'Yes," please answer Question 3. If the answer to
Question 2     is'No,"   please sign the verdict form and do not answer any further questions.
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        Question   3:   Has Tellabs proven that Fujitsu breached its agreement that it was willing
to grant a license of Fujitsu's '737 Patent's technology on RAND terms by:

        (a)    Fujitsu not offering to grant Tellabs a license on RAND terms for Fujitsu's'737
                  ut*''
                                  ^'
       o,rrrn.f           ;t::*        7              No

        (b)    Fujitsu filing a lawsuit against Tellabs seeking injunctive relief based upon the
               alleged infringement-of Fuj its u' s "7 37 Patent?
                                        /
       Answer:            Yes          t/             No

       (c)     Fujitsu filing a lawsuit against Tellabs seeking a non-RAND royalty rate based on
               alleged infringement-of Fuj its n' s' 7 3 7 Patent?
                                        /
       Answer: Yes                     {             No

       (d)     Fujitsu filing a lawsuit against Tellabs seeking damages in the form of lost profits
               based on alleged infringement of Fujitsl's'737 Patent?

       Answer:            Yes                        No

       (e)     Fujitsu filing a lawsuit against Tellabs alleging infringement of the '737 Patent
               that damag ed T ellaf business?

       Answer: Yes ,/                                No

       (f)     Fujitsu filing a lawsuit against Tellabs alleging infringement of the '737 Patent
               that required Tellabs to devote management attention and time, as well as other
               resources to defending the lawsuit, such as attorney's fees, expert fees, and related
               costs?
                                        //
       Answer: Yes                     {             No

         If the answer to any part of Question 3 is "Yes," please answer Question 4. If the answer
to all parts  of Question 3 is oNo," please sign the verdict from, and do not answer any further
questions.
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        Question 4: Has Tellabs proven that Tellabs would have been willing to negotiate a
license of Fujitsu's '737 Patent's technology from Fujitsu on RAND terms in compliance with
the ITU's patent policies, if Fujitsulrad offered Tellabs RAND terms for such a license?

          Answer: Yes              v/                  No

          If the answer to Question 4 is o'Yes," please answer question 5. If the answer to Question
4 is o'No," please sign the verdict form and do not answer any further questions.



        Question 5: Has Tellabs proven that Fujitsu was willful in Fujitsu's breach of its
agreement that it was willing to grant a license on RAND terms for Fujitsu's'737 Patent's
technology, in that Fujitsu's breach was intentional, knowing and with conscious disregard for
Tellabs' rights, or altematively, was done with reckless disregard for Tellabs' obvious or known
rights?

          Answer:        Yes                           No

         If the answer to Question 5 is "Yes," please answer question 6. If the answff to Question
5 is   "No," please sign the verdict form and do not answer any further questions.


        Question 6: Has Tellabs proven by clear and convincing evidence that Fujitsu was
willful in its breach of its agreement thgr it was willing to grant a license for its '737 Patent on
RAND terms?                           /
                                      /
          Answer: Yes             /                    No

Please each sign and date below. Then notify the marshal. The Foreperson should bring this
signed and dated Final Verdict Form into the courtroom to return the Jury's Verdict.
